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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF KENTUCKY
                        CENTRAL DIVISION at LEXINGTON

  MICHAEL HORN,                               )
                                              )
        Plaintiff,                            )       Civil No. 19-168-JMH
                                              )
  v.                                          )
                                              )
  MADISON COUNTY                              )        MEMORANDUM OPINION
  DETENTION CENTER, ET AL.,                   )             AND ORDER
                                              )
        Defendants.                           )

                              ***     ***     ***     ***
       Michael Horn is an inmate at the Madison County Detention

Center (MCDC) in Richmond, Kentucky.                Proceeding without a lawyer,

Horn filed a civil rights complaint with this Court [R. 1], as

well as a motion for leave to proceed in forma pauperis [R. 10].

The Court recently granted Horn’s fee motion [R. 14] and, thus,

this matter is now before the Court on initial screening pursuant

to 28 U.S.C. §§ 1915A and 1915(e)(2).

       Horn   appears    to    list    four       different   defendants   in   his

complaint:      (1) MCDC Lieutenant Kyle Barrett, (2) MCDC Deputy

Deanna Anglin, (3) MCDC Deputy Ashley, and (4) the MCDC itself.

[R. 1 at 1-3].      That said, Horn’s only substantive allegation is

that Barrett assaulted him with a taser, causing him injuries.

[Id. at 4-5].     In fact, Horn specifically says, “There was no one

else involved,” and that the other named defendants were only

witnesses to the alleged incident.                 [Id. at 5].    In short, Horn
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has failed to state a claim against either Anglin or Ashley and,

thus, the Court will dismiss Horn’s claims against these defendants.

      The Court will also dismiss Horn’s claims against the MCDC.

That is because the MCDC is simply a building and not a person or

legal entity which may be sued under 42 U.S.C. § 1983.              See Marbry

v. Corr. Med. Servs., 238 F.3d 422, 2000 WL 1720959, at *2 (6th

Cir. 2000) (holding that the Shelby County jail was not subject to

suit under § 1983).          Plus, even if the Court construes Horn’s

complaint as alleging a claim against Madison County, Horn is not

complaining about a county policy or custom and, therefore, he

fails to state a claim for relief against the county.               See Thomas

v. City of Chattanooga, 398 F.3d 426, 429 (6th Cir. 2005) (citing

Monell v. New York City Dep’t of Soc. Servs., 436 U.S. 658, 690

(1978)).

      That   only    leaves    Horn’s       claim   against   Barrett    in    his

individual capacity.         That claim can be broadly construed as an

excessive force claim, and the Court will allow it to proceed past

the initial screening stage.            Ultimately, since the Court has

already granted Horn pauper status, it will direct the Clerk’s

Office and the United States Marshals Service (USMS) to serve

Barrett with a summons and copy of the complaint on Horn’s behalf.

      Accordingly, it is ORDERED as follows:

      1. Horn’s claims against defendants Anglin, Ashley, and the

         Madison    County    Detention      Center   are   DISMISSED.        As   a

                                        2
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         result, the Clerk’s Office is DIRECTED to terminate these

         defendants from this action.

      2. That   said,     the   Court    will    allow    Horn’s   claim   against

         defendant MCDC Lieutenant Kyle Barrett to proceed.                    As a

         result,    the      Clerk’s    Office    is   DIRECTED    to   list   MCDC

         Lieutenant Kyle Barrett as a defendant in this action.

      3. A Deputy Clerk shall prepare one “Service Packet” for

         service upon defendant MCDC Lieutenant Kyle Barrett.                  That

         Service Packet shall include:

            a. a completed summons form;

            b. the complaint [R. 1];

            c. this Memorandum Opinion and Order; and

            d. a completed USM Form 285.

      4. The Deputy Clerk shall deliver the Service Packet to the

         USMS in Lexington, Kentucky and note the date of delivery

         in the docket.

      5. The USMS shall make arrangements with the appropriate

         officials      at    the   Madison      County   Detention     Center   to

         personally serve MCDC Lieutenant Kyle Barrett with the

         Service Packet at:

                   Madison County Detention Center
                   107 West Irvine Street
                   Richmond, Kentucky 40475

      This 6th day of June, 2019.



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